          Case 20-10763            Doc 42       Filed 08/16/20 Entered 08/17/20 00:29:04                         Desc Imaged
                                               Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                 District of Massachusetts
In re:                                                                                                     Case No. 20-10763-jeb
Huu Phu Le                                                                                                 Chapter 7
Lan T. Lam
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0101-1                  User: cmartin                      Page 1 of 1                          Date Rcvd: Aug 14, 2020
                                      Form ID: pdf012                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 16, 2020.
db             +Huu Phu Le,   30 Franklin Street,   Unit 422,   Malden, MA 02148-4140
aty            +Stewart F. Grossman,   Arent Fox LLP,   800 Boylston Street,   Boston, MA 02199-1900

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 16, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 14, 2020 at the address(es) listed below:
              Adam J. Ruttenberg    on behalf of Trustee Stewart F. Grossman adam.ruttenberg@arentfox.com
              Christopher L. Murray    on behalf of Debtor Huu Phu Le chris@danielmurraylaw.com
              Christopher L. Murray    on behalf of Joint Debtor Lan T. Lam chris@danielmurraylaw.com
              Daniel W. Murray    on behalf of Joint Debtor Lan T. Lam dan@danielmurraylaw.com
              Daniel W. Murray    on behalf of Debtor Huu Phu Le dan@danielmurraylaw.com
              John Fitzgerald     USTPRegion01.BO.ECF@USDOJ.GOV
              Paula R.C. Bachtell    on behalf of Assistant U.S. Trustee John Fitzgerald
               paula.bachtell@usdoj.gov
              Stewart F. Grossman    stewart.grossman@arentfox.com,
               ma16@ecfcbis.com;sfgrossman@ecf.axosfs.com;trustee@pbl.com
                                                                                             TOTAL: 8
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